Case 4:20-cv-00980-KPJ Document 58-5 Filed 12/13/21 Page 1 of 3 PageID #: 2996




                     UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                  )
                         )
      Defendants. )



               PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT E




                                     2C
                                 Case 4:20-cv-00980-KPJ Document 58-5 Filed 12/13/21 Page 2 of 3 PageID #: 2997




Management Team

                  Terry Fokas                                                 Eran Ferri                                                Dovi Yellin

              Chief Executive Officer;                                  President (BioEye, Ltd.)                                        Chief Scientist
                     President


                   BACKGROUND                                                B CKGROUND                                                 BACKGROUND
Software licensing executive with more than 15            Technology mana ement professional with over 20          ) Neuro-scientist specializing in eye-markers; engineer
years experience in technology development and            years of experience. Extensive knowledge and             ! ith extensive algorit m\machine learning
intellectual pro erty enforcement; license U.S.           ex erience in all aspects of technology                  i back round with more than 20 years of
attorney with significant corporate and mergers &         management and market delivery, including                i mana ement experience in research, desi n an
acquisitions and patent licensing and enforcement         product management, sales and marketing,                     development. Algorithmic fields of specialty include
experience.                                               operations, customer service, an licensing.                  machine and deep learning combinatorial
LL..M (Master of Laws) - The London School of                                                                      { optimization, image rocessing and information
                                                          Doctorate stu ies (Artificial Intelligence) - Tel-Aviv
                                                                                                                       theoretical metho s.
Economics;                                                Uni ersity;
                                                                                                                   I PhD (Neuroscience) - Weizmann Institute of
J.D. (Juris Doctorate) - St John's Uni ersity School of   M.Sc.(Communications) - Tel-Aviv University;
Law;                                                                                                               j Science, Rehovot
                                                          B.A (ComputerScience) -Technion (Academic                j M.Sc. (Computational Physics) - Bar Ilan University,
B.Sc. (Marketing & Finance) - State University of         Reserve)                                                 i Ramat-Gan
New York (SUNY)
                                                                                                                   i B.Sc. (Physics and Computer Science) - Bar an
                                                                                                                   i University, Ramat-Gan
                                                                                                                   K




                                                                                     25
                               Case 4:20-cv-00980-KPJ Document 58-5 Filed 12/13/21 Page 3 of 3 PageID #: 2998




Management Team
       Paul Morinville                                     Stephanie Fokas                             Dr. Anne Lipton
                                                                                                     Dr. Malcolm Stewart
         Vice-President,                                        Director of Epilepsy
       roduct Development                                      Community Outreach
                                                                                                           Clinical Consultants

          BACKGROUND                                              BACKGROUND
                                                                                                j Dr. Anne Lipton - Doctor of
Former executive at Dell                              More than 20 years experience in          ! Neurology; Boar certified by the
Technologies responsible for                          leadership roles in non-profit            j American Board of Neurolog . Dr.
corporate and product                                 healthcare organizations. Led the         | Lipton is a nationally recognized
develo ment and human                                 legislative effort for the Epilepsy       ! neurologist, author and dementia
resources. Accomplished tech                          Foundation of Texas which lead to         i specialist.
inventor, with nine issue atents on                   the 2015 assage of the Texas
mission-critical enterprise                           Compassionate Use Act (legalizing         i Dr. Malcolm Stewart - Doctor of
middle are systems controlling                        medical cannabis for adults and           ( Neurology; Board Certified by the
access an business                                    children in Texas with intractable        ; American Board of Neurology.
processes. A junct faculty at I y                     e ilepsy)                                 I Former director of the Parkinson's
Tech University in In iana teaching                                                                 Disease Center and Human
basic electronics, PLC programming                    2018-2019: Chairman of the Board of       ] Performance Laboratory at Texas
and three phase electrical power.                     Directors; Epile sy Foundation of             Health Resources, Presbyterian
                                                      Te as;                                       Hospital, Dallas, Texas.
University of Hawaii, Embry Riddle
Aeronautical University and                           2019; Member, Board of Directions
Minnesota State University:                           (Strategic Planning Committee)
Concentrations in economics and                       National E ilepsy Foundation
astronomy.                                            B.A. (Public Relations) - University of
                                                       aryland (College Park)
